
622 S.E.2d 495 (2005)
360 N.C. 167
EASTWAY WRECKER SERVICE, INC.
v.
CITY OF CHARLOTTE.
No. 467A04.
Supreme Court of North Carolina.
December 16, 2005.
The Odom Firm, PLLC, by T. LaFontine Odom, Sr. and Thomas L. Odom, Jr., Charlotte, for plaintiff-appellant.
Office of the City Attorney, by Cynthia L. White, Senior Assistant City Attorney, and Moore &amp; Van Allen, PLLC, by Daniel G. Clodfelter, for defendant-appellee.
PER CURIAM.
AFFIRMED.
